            Case 1:14-cv-01242-RCL Document 66 Filed 01/16/19 Page 1 of 3



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  JUDICIAL WATCH, INC.

                  Plaintiff,

                               v.                             Civil Action No. 14-cv-1242 (RCL)

  U.S. DEPARTMENT OF STATE,

                  Defendant.


                               MOTION TO STAY CASE IN
                          LIGHT OF LAPSE OF APPROPRIATIONS

       1.       The United States of America hereby moves to stay this case, including discovery,

see Mem. Op. and Order (ECF No. 65) (January 15, 2015) (ordering that discovery be completed

in 120 days, and that State respond to interrogatories and document requests within 20 days of

receiving them) (“Discovery Order”).

       2.       At the end of the day on December 21, 2018, the appropriations act that had been

funding the Department of Justice expired and appropriations to the Department lapsed. The

same is true for several other Executive agencies, including the federal defendant, the

Department of State (“State”). The Department does not know when funding will be restored by

Congress.

       3.       Absent an appropriation, Department of Justice attorneys and employees of State

are prohibited from working, even on a voluntary basis, except in very limited circumstances,

including “emergencies involving the safety of human life or the protection of property.”

31 U.S.C. § 1342, and those activities essential to national security, including the conduct of

foreign affairs essential to national security. To respond to Plaintiff’s interrogatories and

document requests (including one that will require searches of State’s email records for 24
            Case 1:14-cv-01242-RCL Document 66 Filed 01/16/19 Page 2 of 3



officials or former officials) will require not only members of the Department of Justice’s

litigation team, all of whom are currently furloughed, but also State attorneys and employees

from various bureaus and components who are likewise furloughed. The Government will

require an even broader array of State employees—most of whom are currently furloughed—to

prepare for the numerous depositions described in the Discovery Order. These include a

deposition of the State Department itself under Civil Rule 30(b)(6) on a variety of diverse topics

that implicate many bureaus and components throughout State, including State’s “evolving

understanding of the Benghazi attack,” the processing of two different FOIA requests, and the

preparation of talking points about Benghazi. Indeed, at this time, it is not possible to identify

every State employee that will have to be consulted to respond to discovery in this case.

       4.       Undersigned counsel for the Department of Justice therefore requests a stay of

this case until Congress has restored appropriations to the Department.1

       5.       If this motion for a stay is granted, undersigned counsel will notify the Court as

soon as Congress has appropriated funds for the Department. The Government requests that the

120-day discovery period and the 20-day period for responding to document requests and

discovery be tolled through the duration of the lapse of appropriations, such that those time

periods begin running after appropriations are restored.

       6.       In accordance with Local Rule 7(m), undersigned counsel conferred with

Plaintiff’s counsel via email (at approximately 2 PM on January 15, 2019) and by phone (the

morning of this filing). Plaintiff’s counsel was unable to provide Plaintiff’s position on this

motion before the Government filed it.


       1
         The government did not request a stay prior to the Court’s Discovery Order because, at
that time, there were no deadlines in this case and it was still possible that the lapse in
appropriations could end before any deadlines were set.
         Case 1:14-cv-01242-RCL Document 66 Filed 01/16/19 Page 3 of 3



       Therefore, although we greatly regret any disruption caused to the Court and the other

litigants, the Government hereby moves for a stay of this case until Department of Justice

attorneys State employees are permitted to resume their usual civil litigation functions.


January 16, 2019                                  Respectfully submitted,

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